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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO

 Criminal Case No. 19-CR-00086-REB-2

 UNITED STATES OF AMERICA,

         Plaintiff,

 v.

 BRAINARD CLARK,

         Defendant.


  DEFENDANT BRAINARD CLARK’S SENTENCING MEMORANDUM AND MOTION
 FOR VARIANT SENTENCE OR FOR CONCURRENT TIME PURSUANT TO 18 U.S.C.
                                    § 3553(a)
 ______________________________________________________________________________

         Defendant Brainard Clark, by and through counsel, Peter Hedeen, and pursuant

 to 18 U.S.C. §3553, respectfully submits this Motion for Variant Sentence or for

 Concurrent Time for the court’s consideration ahead of sentencing on January 6, 2022.

         I.       Introduction

         On November 21, 2019, Mr. Clark was charged in a Superseding Indictment with

 Conspiracy to Commit Pharmacy Burglary (Count 1) and Pharmacy Burglary and Aiding

 and Abetting (Counts 2-5).1 (ECF Doc. 44). He was charged along with co-defendants

 Damien Lewis (19-cr-00086-1)2 and David Winston (19-cr-00086-3)3. The charges




 1
   The original Indictment was filed on February 21, 2019, which charged only co-defendant Damien Lewis. (ECF
 Doc. 1).
 2
   On April 21, 2021, Mr. Lewis entered a plea of guilty to Count 2. (ECF Doc. 164). He was sentenced on August
 12, 2021, to 50 months imprisonment, with 25 of those months to run concurrent to his sentences in El Paso County
 Cases 15CR414, 16CR6218, 17CR6154, and 18CR254. (ECF Doc. 186).
 3
   On July 22, 2020, Mr. Winston entered a plea of guilty to Count 2. (ECF Doc. 123). He was sentenced on October
 29, 2020, to 41 months imprisonment with three years supervised release. (ECF. Doc. 141).

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 stemmed from an investigation by law enforcement into 13 pharmacy robberies that

 occurred in Southern Colorado beginning in 2017. (ECF Doc. 193 at 8).

          On September 21, 2021, Mr. Clark pled guilty to Count 1. (ECF Doc. 190). The

 charges stemmed from two burglaries that occurred on July 28 and October 15, 2017.

 As part of the plea agreement, the government agreed to give the defendant full credit

 for acceptance of responsibility, dismiss Counts 2-5, and recommend a sentence at the

 low end of the guideline range. (ECF Doc. 190 at pp. 1-2). A Presentence Investigation

 Report (PSR) was completed, which determined Mr. Clark’s Total Offense Level to be

 15 with a criminal history category of V. (ECF Doc. 193 at 21). Accordingly, the

 guideline range for imprisonment was determined to be from 37 to 46 months. (ECF

 Doc. 193 at 21). The probation office recommended a sentence of 37 months

 consecutive to Mr. Clark’s state sentences. (ECF Doc. 193-1 at 2).4

          As detailed in the PSR, Mr. Clark is serving state DOC sentences in cases

 15CR132, 15CR2618, 18CR6823, 18CR6804, and 18CR7431, which were committed

 and filed prior to the filing of the Superseding Indictment in this federal case. (ECF Doc.

 193 at 11-15). At the time of plea and sentencing in each state case, Mr. Clark’s

 attorney was unaware of the existence of the federal warrant or the Superseding

 Indictment despite Mr. Clark’s insistence to the contrary, and his attorney did not

 incorporate the existence of the federal case into negotiations in the state cases.5 This


 4
   The PSR reflects 0 days of presentence confinement credit (ECF Doc. 193 at 2) even though Mr. Clark has been in
 federal custody since January 23, 2020. Since Mr. Clark is on a writ from the CDOC, per BOP rules none of the
 time spent in-custody to date is applied to Mr. Clark’s federal sentence unless this sentence runs concurrent to the
 state cases.
 5
   This oversight by Mr. Clark’s state attorney was significant, as illustrated by the result in co-defendant Damien
 Lewis’s state and federal cases, explained herein. Mr. Clark has no recourse for the failure by his state attorney and
 cannot go back to state court to request concurrent time. The only way to achieve a result that is equitable in light of
 the sentences served by co-defendant Damien Lewis is to sentence Mr. Clark to concurrent time or a variant
 sentence in this case.

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 is in stark contrast to the efforts by Damien Lewis’s attorney in state court, as explained

 below. In 15CR132, Mr. Clark pled guilty to Conspiracy to Commit Second Degree

 Burglary for an offense dated August 28, 2014, for which he was sentenced on January

 7, 2019, to three years DOC concurrent to 15CR2618. (ECF Doc. 193 at 12-13). In

 15CR2618, Mr. Clark pled guilty to Robbery6 for an offense dated April 30, 2015, for

 which he was sentenced on January 7, 2019, to eight years in DOC concurrent to

 15CR132. (ECF Doc. 193 at 13). In 18CR6804, Mr. Clark pled guilty to Possession of

 Marijuana Concentrate with Intent 2.5-5lbs for an offense dated September 10, 2018,

 for which he was sentenced on December 12, 2019, to five years in DOC concurrent to

 15CR132 and 15CR2618 and consecutive to 18CR6823 and 18CR7431. (ECF Doc.

 193 at 14). In 18CR6823, Mr. Clark pled guilty to Conspiracy to Commit Robbery for an

 offense dated September 10, 2018, for which he was sentenced on December 12,

 2019, to four years in DOC concurrent to 15CR132 and 15CR2618 and consecutive to

 18CR6804 and 18CR7431. (ECF Doc. 193 at 15). In 18CR7431, Mr. Clark pled guilty to

 Possession with Intent to Distribute Controlled Substance (Sch I-II) for an offense dated

 between November 14 and December 5, 2018, for which he was sentenced to four

 years DOC concurrent to 15CR132 and 15CR2618 and consecutive to 18CR6823 and

 18CR76804. (ECF Doc. 193 at 16). A large part of the contraband recovered in

 18CR7431 were obtained during the Burglary offenses charged in this case. Combined,

 Mr. Clark’s DOC parole eligibility date is August 23, 2023, with a mandatory release

 date on March 10, 2031. (ECF Doc. 12-16).7



 6
   The PSR lists the charge of conviction as Felony Menacing; court records show the charge of Felony Menacing
 was dismissed when the defendant pled guilty to Robbery, a class four felony.
 7
   See also DOC Inmate Locator: http://www.doc.state.co.us/oss/ (last checked December 16, 2021).

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         Notably, Mr. Clark’s co-defendant Damien Lewis also faced four separate felony

 state cases in El Paso County that predated the federal Indictment in this case. (ECF

 Doc. 178 at 2).8 Those cases resulted in state prison sentences of 12, 22.5, 22.5 and 4

 years, all served concurrently in DOC. (ECF Doc. 178 at 3). Unlike Mr. Clark’s counsel

 in state court, Mr. Lewis’s attorney in state court was aware of the federal Indictment

 and crafted a global plea agreement for Mr. Lewis that contemplated the state

 sentences would run concurrent to whatever future sentence would be imposed in the

 federal case. (ECF Doc. 178 at 3). Ultimately, Mr. Lewis was sentenced in this case to

 50 months imprisonment with 25 months to be served concurrent to his state DOC

 sentences.

         For the reasons set forth below, Mr. Clark respectfully urges the Court to impose

 either a variant sentence of 17 months consecutive to his Colorado Department of

 Corrections (DOC) Sentences in 15CR132, 15CR2618, 18CR6823, 18CR6804, and

 18CR7431, or a sentence of 37 months with 20 months concurrent to his DOC

 sentences. Either way, Mr. Clark would serve a total of 17 months imprisonment in

 addition to the sentences in state court. He submits that such a sentence is sufficient,

 but not greater than necessary to comply with the purposes of punishment set forth in

 18 U.S.C. § 3553(a), particularly in light of the sentence imposed in Mr. Lewis’s case.

         II.     The Applicable Sentencing Standard

         Following United States v. Booker, 125 S.Ct. 738 (2005), a sentencing court

 must impose a sentence in accordance with 18 U.S.C. § 3553(a) and should no longer



 8
  Per Colorado State Court Data Access, Mr. Lewis was convicted in four state cases as follows: 15CR414
 (Robbery, F4), 16CR6218 (Aggravated Robbery, F3), 17CR6154 (Second Degree Burglary – Theft of Drugs, F3),
 and 18CR254 (Second Degree Assault on a Peace Officer).

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 presume a sentence calculated pursuant to the Sentencing Guidelines is appropriate.

 In the post-Booker world, the correctly calculated Guidelines range is but one factor for

 the Court to consider in imposing a sentence. Most significantly, the Court must impose

 a sentence “sufficient, but not greater than necessary” to comply with the purposes of

 punishment set forth in 18 U.S.C. 3553(a)(2). See United States v. Foreman, 436 F.3d

 638, 644 n. 1 (6th Cir. 2006) (“the district court’s job is not to impose a ‘reasonable’

 sentence [but] to impose ‘a sentence sufficient, but not greater than necessary, to

 comply with the purposes’ of section 3553(a)(2)”); United States v. Tucker, 473 F.3d

 556, 561 (4th Cir. 2007) (same); United States v. Willis, 479 F.Supp.2d 927, 929 (E.D.

 Wis. 2007) (explaining that “the so-called parsimony provision…directs the court to

 impose the minimum term necessary to comply with the statutory goals of sentencing”).

 Those purposes include the need “to reflect the seriousness of the offense, to promote

 respect for the law, and to provide just punishment for the offense”; “to afford adequate

 deterrence to criminal conduct”; and “to protect the public from further crimes of the

 defendant.” Title 18 U.S.C. 3553(a)(2)(A), (B) and (C).

        To the extent that Defendant is effectively arguing for a variant sentence, such an

 argument allows a sentencing court not only to consider the so-called Section 3553(a)

 factors, but also factors that may be disfavored by the Sentencing Guidelines, like age

 and criminal record. United States v. Huckins, 529 F.3d 1312, 1318-19 (10th Cir. 2008)

 (citing United States v. Munoz-Nava, 524 F.3d 1137, 1148 & n. 6 (10th Cir. 2008); Gall v.

 United States, 552 U.S. 38, 128 S.Ct. 586, 602 (2007), and Kimbrough v. United States,

 552 U.S. 85, 128 S.Ct. 558, 575 (2007)).




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       In addition to the presumptive Guidelines range, sentencing courts must also

 consider, pursuant to 18 U.S.C. § 3553(a), a number of other factors, including “the

 nature and circumstances of the offense and the history and characteristics of the

 defendant”; “the kinds of sentences available”; and the Guidelines. Id. at 3553(a)(1), (3)

 and (4). Under this sentencing regime, a court should consider all the relevant

 sentencing factors, giving no more weight to one factor than to any other factor. The

 focus of the post-Booker sentencing scheme, therefore, is a sentence based on the

 whole person before the court, rather than upon a mechanistic application of oftentimes

 two-dimensional and limited sentencing factors as embodied and codified in the

 Guidelines.

       United States Sentencing Guidelines (USSG) Section 5G1.3(d) authorizes the

 court to impose a sentence to run concurrently, partially concurrently, or consecutively

 to the prior undischarged portion of the sentences imposed in Mr. Clark’s unrelated and

 related state cases to achieve a reasonable punishment for the instant offense. See 18

 U.S.C. § 3584(a); United States v. Wiliams, 46 F.3d 57 (10th Cir. 1995) (a court

 sentencing a defendant who is already subject to an undischarged term of imprisonment

 may run the terms concurrently or consecutively). Factors to be considered are those

 set forth in 18 U.S.C. § 3553(a). 18 U.S.C. § 3584(b). Greater detail in making a

 determination regarding a concurrent sentence is contained in the U.S.S.G § 5G1.3

 Imposition of a Sentence on a Defendant Subject to an Undischarged Term of

 Imprisonment or Anticipated State Term of Imprisonment. Section (d) (Policy Statement)

 reinforces the authority of the court to impose a sentence that runs concurrently,

 partially concurrently or consecutively to an undischarged term of imprisonment.



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        The application of Section (d) is further discussed in the Commentary and

 suggests the court consider:

        (i)     The factors set forth in 18 U.S.C. §3584 (referencing 18

                U.S.C.§3553 (a);

        (ii)    The type (e.g., determinate, indeterminate/parolable) and length of the

                prior undischarged sentence;

        (iii)   The time served on the undischarged sentence and the time likely to be

                served before release;

        (iv)    The fact that the prior undischarged sentence may have been imposed in

                state court rather than federal court, or at a different time before the same

                or different federal court, and;

        (v)     Any other circumstances relevant to the determination of an appropriate

                sentence for the instant offense.

        USSG §5G1.3 cmt. N.4(A).

        Understanding that cases are often unique and particularly complex, the

 guidelines encourage the court to exercise its discretion to fashion a sentence of

 appropriate length and structured in an appropriate manner. USSG §5G1.3 cmt.N.4(D).

 As set forth below, Mr. Clark respectfully submits that full consideration of all the factors

 outlined in USSG §5G1.3 cmt. N.4(A), including the fundamental precept that the

 sentence be sufficient but not greater than necessary to serve the purpose of

 punishment, warrant a concurrent sentence. This is particularly in light of the sentence

 ordered in the case of co-defendant Damien Lewis.

        III.    Discussion



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         USSG 5G1.3 (d) considerations support a concurrent sentence. Mr. Clark has

 spent the past 1,126 consecutive days in-custody.9 He will remain imprisoned on his

 state DOC sentences through at least his next parole eligibility date of August 23, 2023

 and would serve additional time under either structure suggested by him in this Motion.

 If this court fashions a sentence that includes an additional 17 months imprisonment

 beyond what Mr. Clark currently faces, either through a variance or concurrent time, he

 may ultimately serve day-to-day time of approximately six and one-half years in custody

 on the low end of the spectrum.10 Mr. Clark submits that more than six years in

 custody, on the low end, is a substantial sentence for the crimes he committed as

 charged in state and federal court. It is worth noting that contrary to Mr. Clark, co-

 defendant Damien Lewis’s state offenses involved serious acts of violence, and Mr.

 Lewis’s criminal history score was greater at a category VI. (ECF Doc. 182 at 2).

 Nonetheless, he was sentenced to 50 months with 25 months concurrent to his state

 cases. In light of that, and considering the other factors outlined in this Motion, a

 sentence of 37 months with 20 months concurrent seems just and appropriate.

                  a. History and Characteristics

         The PSR provides relevant details concerning Mr. Clark’s upbringing and the

 unfortunate circumstances he was exposed to during his youth. (ECF Doc. 193 at 17-

 20). Additionally, in preparation for sentencing undersigned Counsel spoke to Mr.

 Clark’s mother Euletha “Shay” Scott, who emphasized her love and support for her son

 whom she described as “just plain good – a good son, a good father, a good brother.”



 9
  Mr. Clark has been imprisoned consistently in state custody since November 26, 2018. (ECF Doc. 193 at 12-13).
 10
   An additional 20 months imprisonment beyond August 23, 2023 is April 23, 2025. There are 2,340 days (or
 approximately 6.5 years) between November 26, 2018 and April 23, 2025.

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 She understands Mr. Clark’s legal situation, and believes he made bad decisions while

 he was “running with the wrong crowd.” She speaks to Mr. Clark often and is aware of

 some maturation shown by him over the past few years in custody. She explained that

 Mr. Clark is a beloved member of his immediate family, many of whom live in Colorado

 Springs and would provide help and support to Mr. Clark upon his release. Ms. Scott

 emphasized Mr. Clark’s connection to his four-year old son Jusari, for whom she helps

 provide care on occasion. Ms. Scott is aware of Mr. Clark’s legal situation and would

 invite him to live with her upon his release.11

         Undersigned counsel also spoke to Lanaya Eleazer, who is Jusari’s mother. She

 said, “Jusari talks about his dad coming home every day.” Even though Jusari was just

 over one year old when Mr. Clark was last arrested, they have maintained a relationship

 through phone calls, cards, and in-person visits. While Ms. Eleazer and Mr. Clark are no

 longer romantically involved, she looks forward to the day he is released so he can

 engage and help with their son. She explained, “he was a good dad when he was out.

 He would buy diapers and food and was very gentle with Jusari.” She said he helped

 pay for Jusari’s needs by sharing his disability check with her.12 She said, “we are not in

 a relationship but I am there for him and I care about his well-being.” Having known Mr.

 Clark for more than six years, she is aware of many “positive changes” in Mr. Clark

 since he was incarcerated. She expressed support for his release, in particular so Jusari

 could have greater access to his father.




 11
    This information was relayed to the probation department, which conducted a home visit with Ms. Clark and
 confirmed this information. (ECF Doc. 193 at 18).
 12
    Mr. Clark was physically disabled during an accident wherein he was severely burned when he was about 13
 years old.

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        Notably, Mr. Clark was raised by his grandmother Mariam Scott, who passed

 away unexpectedly earlier this year in a tragic car accident while Mr. Clark was

 imprisoned. He moved this court to attend her funeral, which request was granted in

 part to allow Mr. Clark to view her funeral via live feed from county jail. (ECF Doc. 154,

 158). The passing of Ms. Scott was a devastating and formative point in Mr. Clark’s

 young life, and he hopes to improve his choices in the future to better honor her impact

 on him.

               b. Nature and Circumstances of the Offense

        The nature of the offenses is adequately summarized in the PSR. (ECF Doc. 193

 at 5-9). Mr. Clark was a part of a group of men who burglarized several pharmacies in

 Colorado. Mr. Clark was not a leader of this group or a planner of these crimes, and

 was included in this operation by older relatives and friends. The group spent only

 minutes inside each pharmacy in the early morning hours, so there was little or no

 threat to employees and the public. Mr. Clark, while involved in a sophisticated

 operation, was not thinking clearly at the time as he was on two ankle monitors for his

 pending state charges when these crimes were committed. A large part of the

 contraband recovered in 18CR7431 (for which Mr. Clark was sentenced to the state

 DOC) were obtained during the Burglary offenses charged in this case.

        IV.    Conclusion

        Spending the past three years in prison has humbled and chastened Mr. Clark,

 and he blames no one but himself for his actions. The objectives of Title 18 U.S.C.

 3553(a) have been met, and a sentence of 37 months with 20 months concurrent to his

 state DOC sentences plus supervised release will adequately reflect the seriousness of



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 the offense, promote respect for the law, and provide just punishment for the offense.

 See, Title 18, U.S.C., 3553(a)(2)(i). In addition, such a sentence will adequately deter

 criminal conduct, and protect the public from further crimes of the defendant. Id. at

 (a)(2)(ii), (iii).

          WHEREFORE, considering all the relevant factors enumerated by 18 U.S.C.

 §3553(a), Mr. Clark respectfully urges the Court to impose either a variant sentence of

 17 months consecutive to his Colorado Department of Corrections (DOC) Sentences in

 15CR132, 15CR2618, 18CR6823, 18CR6804, and 18CR7431, or a sentence of 37

 months with 20 months concurrent to his DOC sentences.



 Dated this Saturday, December 25, 2021.


                                           Respectfully submitted,



                                           __S/Peter Hedeen___
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                             CERTIFICATE OF SERVICE

         I hereby certify that on Saturday, December 25, 2021, I electronically filed the
 foregoing with the Clerk of the Court using the court’s ECF system which will send
 notification of such filing to all counsel of record and the following e-mail address:


 Kelly Churnet
 Kelly.Churnet@usdoj.gov



        And, I hereby certify that I have mailed or served the document or paper to the
 following non CM/ECF participant in the manner (mail, hand-delivery, etc.) indicated by
 the non-participant’s name:

 Mr. Brainard Clark (via US Mail)




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